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              IN THE UNITED STATES DISTRICT COURT
            FOR THE SOUTHERN DISTRICT OF NEW YORK



JANE DOE and JOHN DOE,                                   Civil Action No. 22- cv- 3732

                                                         COMPLAINT
Plaintiffs,
                                                         JURY TRIAL
      -against-                                          REQUESTED.



LOUIS LEONELLI, COMMUNITY
OF FRANCISCAN FRIARS OF THE
RENEWAL, SAINT ADALBERT’S
CHURCH, SAINT ANTHONY
SHELTER FOR RENEWAL, SAINT
CRISPIN’S FRIARY, and
ARCHDIOCESE OF NEW YORK,

Defendants.



                                       COMPLAINT

     1. Plaintiffs, Jane Doe and John Doe 1 (hereinafter “Mrs. Doe,” “Mr. Doe,” or

         “Mrs. and Mr. Doe”), by and through undersigned counsel, for their

         Complaint against Defendants Louis Leonelli (“Leonelli”), Community of

         Franciscan Friars of the Renewal (“Community”), Saint Adalbert’s Church

         (“Church”), Saint Anthony Shelter for Renewal (“Shelter”), Saint Crispin’s

         Friary (“Friary”), and the Archdiocese of New York (“Archdiocese”),


1
    Simultaneously with this Complaint, Plaintiffs are filing a motion to proceed by pseudonym.
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       respectfully allege upon knowledge as to themselves and their acts, and

       upon information and belief as to all other matters, the following:


                        PRELIMINARY STATEMENT


    2. In flagrant abuse of his office as an ordained priest of the Defendants

       Community, Church, Shelter, Friary, and Archdiocese, and in contempt of

       the rights, dignity, reasonable expectations, and reliance of Plaintiffs Mrs.

       Doe and Mr. Doe, and clearly in violation of his public oath to refrain from

       such conduct, Defendant Leonelli on multiple occasions sexually abused 2

       Mrs. Doe, a lifetime Roman Catholic parishioner and at the time of the

       abuse a volunteer worker for the Defendants Community, Church, Shelter,

       Friary, and Archdiocese. The Defendants Community, Church, Shelter,

       Friary, and Archdiocese either were aware of Defendant Leonelli’s

       propensity for such misconduct, or they failed to properly supervise

       Defendant Leonelli as a member of the Church. In this way they failed to

       protect Mrs. Doe and Mr. Doe from the most damaging and humiliating

       experience of their lives.




2
 See NY Penal L § 130.65 (Sexual Abuse in the First Degree); NY Penal L §§ 130.166, 130.167
& 130.70 (Aggravate Sexual Abuse); see also NY Penal L § 130.52 (Forcible Touching).


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                            JURISDICTION


3. The Court’s diversity jurisdiction over this action arises under 28 U.S.C. §

   1332. Plaintiffs bring their claims under the Gender-Motivated Violence Act

   of 2001, New York City Code §§ 8-101 & 8-901 et seq., and New York

   common law. Their claims for damages exceed $75,000.00.


4. Venue is proper in the Southern District of New York under 28 U.S.C. §

   1391, as a substantial part of the events giving rise to the claims occurred in

   this District, and on information and belief all defendants reside in this

   District.


                                 PARTIES


5. Plaintiff Mrs. Doe is a dual national, holding citizenship in the United States

   and French Republic. Plaintiff Mr. Doe is a French citizen. They are both

   permanent residents of France.


6. Upon information and belief, Defendant Leonelli is a citizen of New York

   State and resides in New York City.


7. Upon information and belief, Defendants Community, Church, Shelter,

   Friary, and Archdiocese are organizations operating and regularly doing

   business in New York State and New York City.




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                       FACTUAL BACKGROUND


  8. Plaintiff Mrs. Doe has been a dedicated member of the Roman Catholic

     Church her entire life. She deeply respects its history; she follows its tenets;

     and she is dedicated to its mission. She strongly believes in its mission to

     alleviate suffering and poverty. Mr. Doe is a more recent convert. Following

     his wife’s dedication to the church, he was baptized in the church and, until

     the events described herein, gave his time, energy, faith, trust, and

     resources to the church.


  9. While living in New York, Mrs. Doe volunteered to work in the Community’s

     Lay Associate Program, working in charitable projects supervised and

     administered by the Defendants, including the homeless shelter program

     located at Saint Adalbert’s Church in the Bronx, which, during the relevant

     time, was run on a day-to-day basis by Defendant Leonelli. While working

     for the Defendants on the premises of the Shelter and Friary, Mrs. Doe met

     Defendant Leonelli, a Franciscan priest and employee of the Defendants,

     and she worked under his supervision.


10. On information and belief, St. Anthony Shelter is operated by the

     Community of Franciscan Friars for the Renewal. St. Adalbert’s Church and

     St. Crispin’s Friary are organized and operate within the Community; and

     the Community, Church, Friary, and Shelter are all located in the City of

     New York. At the relevant times, on information and belief, all Defendants’


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   activities fell under the supervision, control, and direction of the

   Archdiocese.


11. Mrs. Doe formally became a Community Lay Associate in 2012 and

    continued to work for the Community’s Shelter project. Shortly after,

    Defendant Leonelli , based on Mrs. Doe’s gender, started to “groom” Mrs.

    Doe for sexual abuse, at first doing things that, though inappropriate, were

    not overtly sexual. For example, he said “I love you” to her frequently, and,

    indeed, he did so with steadily increasing frequency over time. He also

    started touching her inappropriately, for example provocatively stroking

    her face while he administered communion to her. Other examples include

    but are not limited to the following: On the pretext of giving her spiritual

    counseling, he sought to persuade her to divorce her husband by asking

    “Why are you married to [Mr. Doe]?” Once, while she was discussing

    changes in the management of lay volunteers, he sat next to her and started

    to play with the buckle of her bra. At another time, while Leonelli

    ostensibly was giving Mrs. Doe “spiritual direction,” he told her that she

    was “the woman [he] was looking for his whole life.”


12. Leonelli’s misconduct escalated. While hugging Mrs. Doe in greeting he

    positioned himself in order to press his erect penis against her. On

    numerous occasions, when he caught her alone in the basement of Saint

    Adalbert’s Church, he would kiss her, or try to kiss her, and then quickly




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    walk away. When out of view of surveillance cameras at the shelter, he

    would grab her forcefully and kiss her, using his tongue. Once during

    confession, he hugged and kissed her, and then put his hands under her

    skirt.


13. In mid-2015, he called her into his office at the Saint Anthony’s shelter

    where he suddenly assaulted her and sexually abused her by grabbing her

    genitals and, without her consent, penetrating her with his finger. He then

    pulled away, told her sarcastically to “go back to your husband,” and fled

    the office, leaving Mrs. Doe in shock and unable to move.


14. Mrs. Doe felt powerless to respond, because Defendant Leonelli was not

    only her spiritual advisor but also her supervisor in the Lay Associate

    program, and, in addition, an authority in the Roman Catholic Church in

    which she had invested her trust. She was frightened of a confrontation

    with him or with the church. She feared ostracism from the Catholic

    Church, was extremely reluctant to create a scandal for the Church, and

    afraid of spreading the emotional and psychological injury to her husband

    and family.


15. Leonelli played on these fears, and then he threatened worse consequences.

    After the first sexual abuse and assault in the Shelter office, she told him

    that she had resolved to report him to his supervisor. His response was to

    tell her: “If you talk, you are going to disappoint many people. You will be



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    responsible for many people to leave the Church.” Then, he directly

    threatened her by stating: “You need to think of the protection of your

    family.” Thus, by these and other threats, Leonelli deterred Mrs. Doe from

    reporting the sexual abuse.


16. Following these threats, his sexual harassment and pressuring continued,

    to the point where it had become as routine as it was blatant. Once, for

    example, just before she was to teach a cooking class at the Shelter, Leonelli

    came up to her and said, “If we were together, I would make love to you on

    the stove.”


17. Some months later, in the Fall of 2015, while working in the kitchen of St

    Crispin's friary, Defendant Leonelli again assaulted and sexually abused

    her by grabbing her and, without her consent, penetrating her genitals with

    his finger, leaving her shocked, paralyzed, and distraught. Shortly after

    that, she left the Franciscan Lay Associate program. Leonelli continued to

    threaten Mrs. Doe, telling her to worry about “repercussions to your family

    and your own reputation” if she reported him. Later, she and Mr. Doe

    returned to France with her family.


18. In 2021, Mrs. Doe began seeing two psychotherapists working in the

    Catholic dioceses in France. She gradually became able to start talking

    about Defendant Leonelli’s sexual abuse. She decided to report Leonelli’s

    misconduct to Church authorities, including alerting Defendant Leonelli’s



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   supervisor within the Community. Leonelli’s supervisor acknowledged

   receiving Mrs. Doe’s description of Leonelli’s behavior and responded by

   writing that: “This is dreadful and I am sickened by his behavior! It is

   terrible what happened to you.” And further, “My apologies to you, [Mr.

   Doe], and the children, this behavior is scandalous. We will begin to try to

   repair the damage and prevent it from happening again.”


19. Mrs. Doe was physically harmed by Leonelli’s conduct, and both Mrs. and

   Mr. Doe suffered and continue to suffer from extensive psychological and

   emotional injuries and loss of consortium due to their experiences with the

   Defendants.


20. On information and belief, Mrs. Doe was not the only woman to have

   suffered sexual abuse and violence at Defendant Leonelli’s hands. Indeed,

   Leonelli admitted to Mrs. Doe that he had violated his oath in a previous

   affair with at least one other married woman, and that had resulted in the

   divorce of that woman from her husband.


     CAUSES OF ACTION AND PRAYERS FOR RELIEF


                     As for the First Cause of Action
 (violations of the NYC Victims of Gender-Motivated Violence Act):
   Plaintiffs restate and reallege ¶¶ 1- 20.


21. Defendant Leonelli violated the Victims of Gender-Motivated Violence Act

   by pursuing a campaign of sexual harassment and assault, based on Mrs.


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   Doe’s gender, including the sexual abuse and forcible touching of Mrs. Doe

   and threats to her family’s safety. Leonelli’s behavior caused both Plaintiffs

   to suffer extensive psychological and emotional harms, including loss of

   consortium, all of which were the reasonably foreseeable consequences of

   Leonelli’s conduct.


                 As for the Second Cause of Action
 (respondeat superior—NYC Victims of Gender-Motivated
                     Violence Act):
   Plaintiffs restate and reallege ¶¶ 1-21.


22. Defendants Community, Church, Shelter, Friary, and Archdiocese

    authorized, endorsed, ratified, and knew or should have known of

    Defendant Leonelli’s misconduct. As Leonelli’s employers and supervisors,

    Defendants Community, Church, Shelter, Friary, and Archdiocese are liable

    for all of Defendant Leonelli’s injurious acts committed against the

    Plaintiffs in the course of their employment of him and for their benefit, in

    violation of the Victims of Gender-Motivated Violence Act, including

    Leonelli’s threats against Plaintiffs and their family.


                  As for the Third Cause of Action
                (negligent hiring and supervision):
   Plaintiffs restate and reallege ¶¶ 1-22.


23. Defendants Community, Church, Shelter, Friary, and Archdiocese hired,

   retained, promoted, and invested Leonelli as a priest in the Franciscan



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       Community, giving him authority over Defendants’ employees and lay

       volunteers, as well as over other parishioners. Their failure to supervise

       Leonelli was so egregious that Leonelli was able to pursue patently

       predatory campaigns against the Plaintiffs, and on information and belief

       against others, without necessary oversight, or appropriate control, or any

       corrective discipline.


      WHEREFORE, Plaintiffs Jane Doe and John Doe pray for an award of
money damages in an amount in excess of $75,000, against Defendants Louis
Leonelli, Community Franciscan Friars of the Renewal, Saint Adalbert’s Church,
Saint Anthony Shelter for Renewal, Saint Crispin’s Friary, and Archdiocese of New
York, for injuries suffered due to Defendants’ acts and omissions. Plaintiff also
prays for the award of appropriate interest on damages, for the taxation of its costs
of litigation against the Defendants, and for the award of other fees (including
attorney’s fees), charges, and other legal relief as is necessary and appropriate.

          A JURY TRIAL IS DEMANDED ON ALL CLAIMS.

                                 Respectfully submitted,




                                 Daniel N. Arshack
                                 Arshack, Hajek & Lehrman PLLC
                                 1790 Broadway, Suite 710
                                 New York, N.Y. 10019
                                 (212) 582-6500
                                 dan@lawahl.com
                                 Attorney for Plaintiffs Jane Doe and John Doe




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